UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

                                                     :
 STEPHEN BUSHANSKY,                                  :
                                                     :   Case No. 1:20-cv-01426-MKV
                                                     :
                     Plaintiff,                      :
                                                     :   NOTICE OF VOLUNTARY
             v.                                      :
                                                     :   DISMISSAL
 WPX ENERGY, INC., KIMBERLY S.                       :
 LUBEL, JOHN A. CARRIG, DAVID F.                     :
 WORK, ROBERT K. HERDMAN, KELT                       :
                                                     :
 KINDICK, KARL F. KURZ, HENRY E.                     :
 LENTZ, VALERIE M. WILLIAMS,                         :
 RICHARD E. MUNCRIEF, and CLAY M.                    :
 GASPAR,                                             :
                                                     :
                     Defendants.                     :
                                                     :

       PLEASE TAKE NOTICE that, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i),

plaintiff Stephen Bushansky (“Plaintiff”) voluntarily dismisses the claims in the captioned action

(the “Action”) with prejudice. Because this notice of dismissal is being filed with the Court before

service by defendants of either an answer or a motion for summary judgment, Plaintiff’s dismissal

of the Action is effective upon the filing of this notice.


 Dated: February 28, 2020                                     WEISSLAW LLP

                                                         By
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